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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                 March 14, 2016
                                 IN THE UNITED STATES DISTRICT COURT
                                                                               David J. Bradley, Clerk
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION


IN RE COBALT INTERNATIONAL                              §
ENERGY, INC. SECURITIES                                 §    CIVIL ACTION NO. H-14-3428
LITIGATION                                              §


                                               MEMORANDUM AND ORDER

            This securities case is before the Court on the Motions to Certify Order for

Interlocutory Appeal (“Motions to Certify”) filed by Defendants Goldman Sachs

Group, Inc., Riverstone Holdings LLC (“Riverstone”), First Reserve, ACM Ltd., and

The Carlyle Group L.P. (collectively, “Control Defendants”) [Doc. # 117]; by Cobalt

International Energy, Inc. (“Cobalt”), Joseph H. Bryant, James W. Farnsworth, John

P. Wilkirson, Peter R. Coneway, Henry Cornell, Jack E. Golden, N. John Lancaster,

Jon A. Marshall, Kenneth W. Moore, J. Hardy Murchison, Michael G. France,

Kenneth A. Pontarelli, Scott L. Lebovitz, Myles W. Scoggins, D. Jeff van

Steenbergen, Martin H. Young, Jr., and William P. Utt (collectively, the “Cobalt

Defendants”) [Doc. # 118]; and by Defendants Goldman, Sachs & Co. (“Goldman

Sachs”), Morgan Stanley & Co. LLC, Credit Suisse Securities (USA) LLC, Citigroup

Global Markets Inc., J.P. Morgan Securities LLC, Tudor, Pickering, Holt & Co.

Securities, Inc., Deutsche Bank Securities Inc., RBC Capital Markets, LLC, UBS


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Securities LLC, Howard Weil Incorporated, Stifel, Nicolaus & Company,

Incorporated, Capital One Southcoast, Inc., and Lazard Capital Markets LLC

(collectively, “Underwriter Defendants”) [Doc. # 120]. Pursuant to 28 U.S.C.

§ 1292(b), Defendants seek certification of the Court’s Memorandum and Order [Doc.

# 108] entered January 19, 2016.1

            Plaintiffs filed an Omnibus Opposition [Doc. # 121], and a Reply was filed by

the Control Defendants [Doc. # 122], the Underwriter Defendants [Doc. # 123], and

the Cobalt Defendants [Doc. # 124]. The Court has reviewed the record, including its

January 19, 2016 Memorandum and Order. Based on this review, consideration of the

parties’ arguments, and the application of binding and persuasive legal authorities, the

Court denies the pending Motions to Certify.

I.          BACKGROUND

            The factual background of this lawsuit was set forth fully in the Court’s January

19, 2016 Memorandum and Order. Briefly, Cobalt is an exploration and production

company that was formed in 2005 as a private company. Cobalt conducted an initial

public offering (“IPO”) of its shares in December 2009.


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            Section 1292(b) allows the Court to certify for interlocutory appeal a non-final order
            if the Court finds that the order “involves a controlling question of law as to which
            there is substantial ground for difference of opinion and that an immediate appeal
            from the order may materially advance the ultimate termination of the litigation.” 28
            U.S.C. § 1292(b).

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            Previously, in 2007, Cobalt had entered into an agreement with Sonangol E.P.

(“Sonangol”), the Angolan national oil company, to acquire a 40% interest in oil

exploration Blocks in offshore Angola. In 2009, the Angolan Parliament issued two

decrees assigning an interest in the Blocks to Nazaki Oil & Gaz (“Nazaki”), Sonangol

P&P, and Alper Oil, Limitada (“Alper”).

            On January 4, 2011, Cobalt filed a Registration Statement and Prospectus

(“January 2011 Registration Statement”) with the Securities and Exchange

Commission (“SEC”). Based on this January 2011 Registration Statement, Cobalt

conducted, inter alia, a stock offering in late February 2012 (“February 2012 Stock

Offering”) and a bond offering in December 2012 (“2012 Bond Offering”).

            On March 10, 2011, Cobalt learned that the SEC was conducting an informal

inquiry into allegations that there existed a connection between Nazaki and senior

government officials in Angola. The next day, Cobalt contacted the Department of

Justice (“DOJ”) regarding the same allegations. Both the SEC and the DOJ engaged

in formal investigations into whether Cobalt had violated the Foreign Corrupt

Practices Act of 1977. The SEC investigation terminated in January 2015 with no

recommendation for enforcement action against Cobalt. The DOJ investigation is

ongoing.




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            On November 30, 2014, Plaintiffs St. Lucie County Fire District Firefighters’

Pension Trust Fund (“St. Lucie”) and Fire and Police Retiree Health Care Fund, San

Antonio filed a Class Action Complaint [Doc. # 1] alleging violations of the Securities

Exchange Act of 1934 (“Exchange Act”) and the Securities Act of 1933 (“Securities

Act”). On December 5, 2014, Steven Neuman filed a Complaint [Doc. # 1 in Civil

Action No. H-14-cv-3488], alleging violations of the Securities Act and the Exchange

Act. By Orders [Docs. # 67 and # 68] entered March 3, 2015, the Court consolidated

the two civil cases and appointed lead Plaintiffs.

            On May 1, 2015, Plaintiffs filed their Consolidated Amended Class Action

Complaint (“Complaint”) [Doc. # 72], asserting claims under the Exchange Act and

the Securities Act. Defendants filed Motions to Dismiss, which were denied in most

respects in the January 19, 2016 Memorandum and Order.

            Defendants have now filed their Motions to Certify the January 19, 2016

Memorandum and Order for interlocutory appeal. The Motions to Certify have been

fully briefed and are ripe for decision.

II.         APPLICABLE LEGAL STANDARD

            Certification of an interlocutory appeal from an order is permitted if the district

court is “of the opinion that such order involves a controlling question of law as to

which there is substantial ground for difference of opinion and that an immediate


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appeal from the order may materially advance the ultimate termination of the

litigation.” Nguyen v. Am. Comm. Lines, L.L.C., 805 F.3d 134, 137-38 (5th Cir. 2015)

(quoting 28 U.S.C. § 1292(b)). “Interlocutory appeals are generally disfavored, and

statutes permitting them must be strictly construed.” Mae v. Hurst, 613 F. App’x 314,

318 (5th Cir. June 2, 2015) (quoting Allen v. Okam Holdings, Inc., 116 F.3d 153, 154

(5th Cir. 1997)). “Section 1292(b) appeals are exceptional.” Derrick Petroleum

Servs. v. PLS, Inc., 2015 WL 224991, *2 (S.D. Tex. Jan. 15, 2015) (quoting Clark-

Dietz & Assocs. v. Basic Constr. Co., 702 F.2d 67, 69 (5th Cir. 1983)).

            General standards for § 1292(b) certification that have commonly been

identified by courts include: (1) “the decision to permit such an appeal is firmly

within the district court’s discretion;” (2) the statute “is not a vehicle to question the

correctness of a district court’s ruling or to obtain a second, more favorable opinion;”

(3) “the issue for appeal must involve a question of law – not fact” and a “‘question

of law’ does not mean the application of settled law to disputed facts;” (4) the “issue

for appeal must involve a controlling question of law;” (5) permitting an interlocutory

appeal must “speed up the litigation;” and (6) “there must be substantial ground for

difference of opinion over the controlling question of law for certification under

§ 1292(b).” See Ryan v. Flowserve Corp., 444 F. Supp. 2d 718, 722-23 (N.D. Tex.

2006) (emphasis in original). “District courts have unfettered discretion to deny


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certification, even when all [statutory criteria] are satisfied.” Nieman v. City of

Dallas, 2016 WL 470235, *3 (N.D. Tex. Feb. 8, 2016) (Lynn, J.); see also Jackson

v. Caribbean Cruise Line, Inc., 88 F. Supp. 3d 129, 141 (E.D.N.Y. 2015); Villareal

v. Caremark LLC, 85 F. Supp. 3d 1063, 1068 (D. Ariz. 2015).

III.        ANALYSIS

            A.          Controlling Question of Law

            The first requirement for certification under § 1292(b) is that the issue for

appeal must involve a controlling question of law. A “controlling question of

law – although not consistently defined – at the very least means a question of law the

resolution of which could materially advance the ultimate termination of the

litigation – thereby saving time and expense for the court and the litigants.” Ryan, 444

F. Supp. 2d at 723.

            Control Defendants.— The Control Defendants seek certification of the

following issues for interlocutory appeal:

            1.          Whether a complaint can state a claim for control-person liability
                        merely by alleging that a private-equity sponsor owned a minority
                        of a company’s shares and appointed a minority of the company’s
                        board.

            2.          In the absence of any allegations that separate private-equity
                        sponsors acted jointly to control the primary defendant, whether
                        such separate sponsors may be treated as a group for purposes of
                        determining whether a complaint states a control-person claim
                        against each of them.

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Control Defendants’ Motion to Certify, p. 6.

            In the January 19, 2016 Memorandum and Order, the Court set forth the

requirements for § 15 control person liability, noting that the SEC defines “control”

to mean the “possession, direct or indirect, of the power to direct or cause the direction

of management and policies of a person, whether through ownership of voting

securities, by contract, or otherwise.” Memorandum and Order, p. 29 (citing 17

C.F.R. § 230.405). The Court noted that control can be established by “business

relationships, interlocking directors, family relations, or the power to influence and

control the activities of another.” Id. (citing In re Dynegy, Inc. Sec. Litig., 339 F.

Supp. 2d 804, 828 (S.D. Tex. 2004)). The Court stated specifically that a “plaintiff

needs to allege some facts beyond the defendant’s position or title that show the

defendant had actual power or control over the controlled person.” Id. at 29-30

(citations omitted). The Court noted further that whether a defendant is a § 15 control

person “is an intensely factual question.” Id. at 30, 31. The Court found that

Plaintiffs in this case alleged facts beyond the Control Defendants’ positions by

alleging, inter alia, “that the Control Defendants possessed the ability to control or

influence Cobalt’s day-to-day operation because a Stockholder Agreement gave them

the right to select a majority of the members of every Board Committee except the

Audit Committee” and that Cobalt stated in SEC filings that its “four largest

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stockholders collectively own approximately 72% of [Cobalt’s] outstanding stock”

and “have significant influence over all matters that require approval by [the]

shareholders, including election of directors and approval of significant corporate

transactions.” Id. at 30-31.

            The Court finds that the issues the Control Defendants want certified for

interlocutory appeal are not controlling questions of law but are, instead, issues

regarding the Court’s application of established legal principles to the factual

allegations in this lawsuit. As a result, the Control Defendants have failed to satisfy

the first requirement for § 1292(b) certification, and their Motion to Certify is denied.

            Cobalt Defendants.— The Cobalt Defendants seek certification of the

following issues for interlocutory appeal:

            1.          Even if a complaint identifies a confidential witness (“CW”) by
                        his or her job title, responsibilities, and tenure, must a district
                        court analyze at the motion to dismiss stage whether the complaint
                        adequately pleads that the CW could have personal knowledge of
                        each allegation he or she makes before deciding whether to credit
                        those allegations . . .?

            2.          Must a district court analyze at the motion to dismiss stage the
                        reliability and accuracy of articles and their underlying sources to
                        determine whether they satisfy the [applicable pleading
                        standards]?

Cobalt Defendants’ Motion to Certify, p. 1.




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            In their Motion to Dismiss, the Cobalt Defendants asked the Court to disregard

allegations based on information from confidential witnesses and various published

articles. In the January 19, 2016 Memorandum and Order, the Court noted correctly

that courts often discount allegations from confidential sources. Memorandum and

Order, p. 8 (citing Ind. Elec. Workers’ Pension Trust Fund v. Shaw Group, Inc., 537

F.3d 527, 535 (5th Cir. 2008)). The Court then stated, however, that in this case, “the

confidential witnesses not identified by name are adequately identified in other ways

and the basis for their knowledge is set forth in the Complaint.” Id. (emphasis

added).

            With reference to the published articles cited by Plaintiffs in support of the

allegation that the Cobalt Defendants had knowledge that Nazaki and Alper were

owned by Angolan government officials, the Court noted that the content of the

articles was properly alleged and that the articles provided only one source of

evidentiary support of the claim that the Cobalt Defendants made false or misleading

statements. Id. at 9.

            The issues that the Cobalt Defendants ask this Court to certify for interlocutory

appeal are not controlling questions of law. Instead, they are issues regarding the

Court’s application of established legal principles to the factual allegations in this

lawsuit. Additionally, with reference to the published articles, the issue would not be


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controlling because there were other allegations to support Plaintiffs’ assertion that

the Cobalt Defendants had knowledge of the relationship among Nazaki, Alper, and

the Angolan government officials. As a result, the Cobalt Defendants have failed to

satisfy the first requirement for § 1292(b) certification, and their Motion to Certify is

denied.

            Underwriter Defendants.— The Underwriter Defendants seek certification of

the following question for interlocutory appeal:

            Whether a Securities Act claim is timely under its three-year statute of
            repose, where it is brought by a person who purchased different
            securities in a different offering, and where the different offering was
            based on the same shelf registration statement filed more than three years
            prior to suit.

Underwriter Defendants Motion to Certify, p. 3. Plaintiffs concede, and the Court

agrees, that this is a controlling question of law as to the statute of repose defense.

            B.          Substantial Ground for Difference of Opinion

            The second requirement for certification under § 1292(b) is that there is a

substantial ground for difference of opinion regarding the controlling question of law.

“[C]ourts have found substantial ground for difference of opinion where a trial court

rules in a manner which appears contrary to rulings of all Courts of Appeals which

have reached the issue, if the circuits are in dispute on the question and the Court of

Appeals of the circuit has not spoken on point, if complicated questions arise under


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foreign law, or if novel and difficult questions of first impression are presented.”

Ryan, 444 F. Supp. 2d at 723-24 (internal quotation and citation omitted); Ministry of

Oil of the Republic of Iraq v. 1,032,212 Barrels of Crude Oil, 2015 WL 851920, *2

(S. D. Tex. Feb. 26, 2015). “But simply because a court is the first to rule on a

question or counsel disagrees on applicable precedent does not qualify the issue as one

over which there is substantial disagreement.” Ryan, 444 F. Supp. 2d at 724; see also

Ministry of Oil, 2015 WL 851920 at *2.

            As noted above, the Control Defendants and the Cobalt Defendants have not

raised issues that are ready for presentation. All of the questions they identify are

fact-intensive, not suitable for disposition on the pleadings. The issue posed by the

Underwriter Defendants, however, warrants a closer evaluation on the question of

“substantial ground for difference of opinion.”

            In the January 19, 2016 Memorandum and Order, the Court held that the

allegations in Plaintiffs’ Complaint established for purposes of a motion to dismiss

that St. Lucie had standing when it filed its Class Action Complaint on November 30,

2014, to assert the Securities Act claim based on Cobalt’s February 2012 Offering.

The Court held that St. Lucie had standing because it purchased Cobalt securities in

the December 2012 Bond Offering that was based on the same January 2011




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Registration Statement and Prospectus as the February 2012 Offering.                    See

Memorandum and Order, pp. 21-24.

            Although the statute of repose issue is a controlling question of law, the Court

does not find that there exists a substantial ground for difference of opinion. The Fifth

Circuit has held that Section 11’s “standing provisions limit putative plaintiffs to the

narrow class of persons consisting of those who purchase securities that are the direct

subject of the prospectus and registration statement.” Krim v. pcOrder.com, Inc., 402

F.3d 489, 495 (5th Cir. 2005). Other federal courts of appeals have held the same.

See, e.g., DeMaria v. Andersen, 318 F.3d 170, 175 (2d Cir. 2003) (holding that § 11

provides a cause of action for any person who acquired a security issued pursuant to

a materially false registration statement); Lee v. Ernst & Young, LLP, 294 F.3d 969,

976-77 (8th Cir. 2002) (stating that a § 11 plaintiff need only have purchased

securities that were “originally registered under the allegedly defective registration

statement – so long as the security was indeed issued under that registration statement

and not another”).

            The Underwriter Defendants’ reliance on the First Circuit’s decision in

Plumbers’ Union Local No. 12 Pension Fund v. Nomura Asset Acceptance Corp., is

unpersuasive. In that case, none of the named plaintiffs had purchased certificates

issued by the defendants. See Plumbers’ Union, 632 F.3d 762, 768 (2d Cir. 2011).


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As a result, the First Circuit held that the plaintiffs lacked standing – with a

qualification. Id. at 770. The “qualification,” described by the First Circuit in dicta,

was that a plaintiff could have standing “where the claims of the named plaintiffs

necessarily give them – not just their lawyers – essentially the same incentive to

litigate the counterpart claims of the class members because the establishment of the

named plaintiffs’ claims necessarily establishes those of other class members.” Id.

That is the case here. In the November 2014 complaint, St. Lucie, as a purchaser in

the December 2012 Bond Offering, challenged statements in the January 2011

Registration Statement on which both the December 2012 Bond Offering and the

February 2012 Stock Offering were based. Therefore, St. Lucie had the same

incentive to litigate its challenge to the allegedly false Registration Statement as those

purchasers of Cobalt stock in the February 2012 Stock Offering.

            The Fifth Circuit in Krim addressed the issue that the Underwriter Defendants

want certified. The Fifth Circuit’s decision in Krim is consistent with decisions by

other courts of appeals, including the Second and the Eighth Circuits. The First

Circuit’s decision in Plumbers’ Union is not inconsistent with the Fifth Circuit’s Krim

decision and, therefore, does not demonstrate substantial ground for difference of

opinion. The Underwriter Defendants have failed to satisfy the second requirement




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for § 1292(b) certification of an interlocutory appeal, and their Motion to Certify is

denied.

            C.          Materially Advance the Ultimate Termination of the Litigation

            The third requirement for certification under § 1292(b) is that the interlocutory

appeal will materially advance the ultimate termination of the litigation. Indeed, the

“institutional efficiency of the federal court system is among the chief concerns

motivating § 1292(b).” Ryan, 444 F. Supp. 2d at 723. None of the moving

Defendants has satisfied this element.

            As to the questions raised by the Control Defendants and the Cobalt

Defendants, an interlocutory appeal is unlikely to advance the ultimate termination of

the lawsuit because, even if successful, the appeal will likely result in remand to this

Court for Plaintiffs to have an opportunity to replead. Therefore, an interlocutory

appeal – even a successful one – will delay rather than advance final resolution of this

dispute.

            As to the question raised by the Underwriter Defendants, a successful appeal

would materially advance the termination of the lawsuit as to only a few of the

Defendants. On this basis, also, the Court finds that an interlocutory appeal would not

materially advance the final resolution of this lawsuit. See, e.g., ExxonMobil Corp.

v. U.S., 108 F. Supp. 3d 486, 516 (S.D. Tex. 2015).


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            As to the questions raised by all Defendants, those issues can be appealed, if

appropriate, after all remaining issues have been resolved. The Court has handled,

and will continue to handle, this case expeditiously. The case will progress efficiently

to final resolution, at which time all disputed issues can be raised in one appeal rather

than piecemeal.

IV.         CONCLUSION AND ORDER

            As explained above, Defendants have failed to satisfy the three requirements

for certification of an interlocutory appeal pursuant to 28 U.S.C. § 1292(b). In any

event, the Court does not find that this is an exceptional case that would benefit from

an interlocutory appeal. Therefore, in the exercise of this Court’s discretion, it is

hereby

            ORDERED that the Motions to Certify Order for Interlocutory Appeal [Docs.

# 117, # 118, and # 120] are DENIED.

            SIGNED at Houston, Texas, this 14th day of March, 2016.




                                                            NAN Y F. ATLAS
                                                   SENIOR UNI   STATES DISTRICT JUDGE




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